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                          UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                  RALEIGH DIVISION

  IN RE:                                                                      CHAPTER 7

  ASSET TRADER,
                                                               CASE NO. 16-02794-5-DMW
                  Debtor.


  IN RE:                                                                      CHAPTER 7

  ANTHONY WAYNE MARCH,
                                                               CASE NO. 16-00522-5-DMW
                  Debtor.


      OBJECTION TO TRUSTEES’ MOTION FOR APPROVAL OF COMPROMISE

           NOW COME Stanley and Diane Cichowicz, creditors in the above-referenced case, by and

  through undersigned counsel, and object to the Trustees’ Motion to Approve Compromise dated

  January 25, 2018. In support of this Motion, Stanley and Diane Cichowicz respectfully show the

  Court as follows:

           1.     On January 9, 2017, Stanley and Diane Cichowicz filed Proofs of Claim in the

    above cases.

           2.     On March 23, 2017, the Trustee filed an objection to the Cichowicz’s Claim in the

    Asset Trader case.

           3.     Stanley and Diane Cichowicz have valid claims in both cases.

           4.     Paragraph 8(2) of the Trustees’ proposed settlement provides that creditors may not

    have allowed claims in both cases.

           5.     Stanley and Diane Cichowicz have valid claims in both cases, and the two Trustees

    should not be allowed to alter that truth under the guise of a compromise motion.
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         WHEREFORE, Stanley and Diane Cichowicz respectfully object to the proposed

  settlement, request that a hearing be held on the Motion, and for such other and further relief as

  the Court deems just and proper.

         Respectfully submitted, this the 15th day of February, 2018.

                                               JANVIER LAW FIRM, PLLC

                                               /s/ William P. Janvier
                                               William P. Janvier, N.C. State Bar No. 21136
                                               Samantha Y. Moore, N.C. State Bar No. 40202
                                               1101 Haynes Street, Suite 102
                                               Raleigh, North Carolina 27604
                                               Phone: (919) 582-2323
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                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true copy of the foregoing was electronically filed
  through CM/ECF and served on the parties listed below by depositing a copy of the same in the
  United States mail bearing sufficient postage or electronically as indicated:

  Asset Trader
  c/o James B. Angell (Via CM/ECF)

  Anthony Wayne March (Via U.S. Mail)
  11310 Colbert Creek Loop, Apt. 307
  Raleigh, NC 27614
  Debtor

  James B Angell, Trustee (Via CM/ECF)

  Brian Behr (Via CM/ECF)
  Attorney for Bankruptcy Administrator, EDNC

  John Bircher, Trustee (Via CM/ECF)

  Stanley and Diane Cichowicz
  Post Office Box 429
  Pleasant Garden, NC 27313

         Respectfully submitted, this the 15th day of February, 2018.

                                               JANVIER LAW FIRM, PLLC

                                               /s/ William P. Janvier
                                               William P. Janvier, N.C. State Bar No. 21136
                                               Samantha Y. Moore, N.C. State Bar No. 40202
                                               1101 Haynes Street, Suite 102
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